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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                      Criminal No. 21-CR-399 (RDM)
       v.

ROMAN STERLINGOV,

                   Defendant.


      MOTION FOR MISCELLANEOUS RELIEF REGARDING BRIEFING AND
      SCHEDULING OF HEARING ON DEFENDANT’S RULE 17(C) SUBPOENA

       Non-party Chainalysis Inc. (“Chainalysis”) moves for a filing deadline before August 28,

2023 for defendant Sterlingov to provide an expert statement regarding Chainalysis Reactor

source code or, in the alternative, for a hearing date after August 29, 2023 on defendant’s Motion

to Authorize Issuance and Pretrial Return of Subpoena Duces Tecum (ECF No. 155).

       Chainalysis understands that at a Daubert hearing on August 22, 2023, the Court ordered

defendant Sterlingov by August 28, 2023 to file a statement from an expert regarding the

necessity to examine Reactor source code and the scope of any such examination. Chainalysis

further understands that the Court set a hearing for the morning of August 29, 2023 on

defendant’s motion for leave to issue a Rule 17(c) subpoena that would seek Reactor source

code. Chainalysis opposes defendant’s repeated attempts to obtain Reactor source code for the

reasons explained in its opposition to defendant’s motion for reconsideration of the Court’s prior

order quashing defendant’s first set of Rule 17(c) subpoenas. (ECF No. 160.) Chainalysis

disagrees with providing defendant a renewed attempt to obtain Reactor source code given his

repeated inability to articulate its relevance. Defendant was first put on notice of the Court’s

requirement that he obtain an expert statement on June 16, 2023. (Hr’g Tr. at 32:15-34:19.)

Defendant then chose not to seek leave to issue a Rule 17(c) subpoena until August 2. (ECF No.



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155.) Defendant failed to provide an expert statement at that time. After Chainalysis pointed that

out in its August 10 filing (ECF No. 160), defendant still chose not to provide any statement.

       While counsel for Chainalysis is ready to appear on August 29, Chainalysis asks the

Court to allow sufficient time to review any filing by defendant ahead of the hearing. Given

defendant has had over two months to provide an expert statement, Chainalysis should have

more than a few hours to review such a statement before responding to it.

       Accordingly, Chainalysis proposes that the Court order defendant to file an expert

statement no later than August 25, 2023. In the alternative, if the Court maintains the filing

deadline of August 28, Chainalysis asks that the hearing be moved to a time convenient for the

Court later that same week.

       Dated this 22nd day of August, 2023.

                                              Respectfully submitted,

                                              MORRISON & FOERSTER LLP

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